Case 8:20-cv-00888-MSS-JSS Document 97-1 Filed 01/25/22 Page 1 of 2 PagelD 1229

Filing # 106879037 E-Filed 04/30/2020 08:55:14 AM

FILED 05/14/2020 08:35:36 KEN BURKE, CLERK OF THE CIRCUIT COURT AND COMPTROLLER, PINELLAS GOUNTY FLORIDA

IN THE CIRCUIT COURT FOR Pinellas

Is GU ARORA RTOTIID Of

a Ch

PROBATE DIVISION

Division

LETTERS GF GUARDIANSHIP
OF THE PROPERTY OF MINOR

TO ALL WHOM IT MAY CONCERN:

WHEREAS, David M. Greenbaum

COUNTY, FLORIDA

File No. 20-003820-GD

 

 

 

 

has been appointed guardian of the property ee

 

 

(the Ward), and has taken the prescribed oath and performed all other acts prerequisife to issuance of letlers of

guardianship of the property of the Ward,

NOW THEREFORE, 1, the undersigned circuit judge, declare David M. Greenbaum

 

 

duly qualified under the laws of the Siate of

Florida

to acl as puardian of the praperty of

 

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7

 

a minor, with full power to exercise all delegable legal rights and powers of the Ward pertaining to the Ward’s properly,

to administer the property of the Ward according lo law, and to take possession of and io hold for the benefit of the

Ward, ali the property and income of the Ward.
ORDERED on ,

 

cc: Russell R. Winer, Esq.

Bar Form No. G-3.113
January 1, 2020 dts

 

[pms 03:52:34 PM

Circuit Judge

PL SSI

FAR PORT
GAMERS DET

*** ELECTRONICALLY FILED 04/30/2020 08:55:13 AM: KEN BURKE. CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY**#

 
Case 8:20-cv-00888-MSS-JSS Document 97-1 Filed 01/25/22 Page 2 of 2 PagelD 1230

Filing # 107643288 E-Filed 05/18/2020 06:09:46 PM
FILED 05/21/2020 08:41:08 KEN BURKE, CLERK OF THE CIRCUIT COURT AND COMPTROLLER, PINELLAS COUNTY FLORIDA

IN THE CIRCUIT COURT FOR PINELLAS COUNTY, FLORIDA

PROBATE DIVISION
IN RE: Suardianship of
a ~
A Minor FILE NO. 20-003820-GD
3

 

Order Authorizing Guardian to Retain Counsel and Defend Interpleader

This cause came on to bE ~~" the Petition of David M. Greenbaum, Guardian of the
property of R G a Minor, and the Court being fully advised in the
premises, it is:

Ordered and Adjudged:

1. Guardian is authorized to executed the representation agreement and retain the services
of William J. Cook of Barker Cook to defend the action in US District Court for the Middle
District of Florida, Case 8:20-cv-00888.

2. lf Guardian pays the retainer from his personal funds he may petition for reimbursement
when funds become available.

DONE AND ORDERED in Chambers

09/20/2020 03:24:18 PM
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OFROOLO 15:RANIT SFAOADTAIOIATOXKCOXK

Circuit Judge

 

Copies to: Russell R. Winer, Esq.

+ FEL ECTRONICALLY FILED 05/18/2020 06:09:45 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY **#

 
